Case: 4:11-cv-01176-TC|\/| Doc. #: 1-2 Filed: 07/05/11 Page: 1 of 27 Page|D #: 14

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IN THE ZZND JUDICIAL CIRCUIT COURT OF CITY OF ST LOUIS, MISSOURI

 

 

 

 

 

 

Judge or Division: Case Number: 1122-CC00192
STEVEN RUSSELL OHMER

Plamtiff/Petitioner: Plainti_ff’s/_Petitioner’s Attomey/Address
ANJANAI FLENOID ALAN SCOTT MANDEL

_' 1108 OLIVE ST.
Sth FL

- - vs. ST. LOU"IS, MO 631011949
Defendant/Respondent: COUYC Addr@$$!

ENVISION HOSPITAL coRPORATIoN IC(§\I:III}IC]J€§ER§S §§JITDLDH\IG
Nature of Suit: B
cc Wrongful Death SAINT LGUIS» MO 63101 mate me siamp)

 

Summons in Civil Case

Th€ Sfafe Of MiSSO\ll‘i COL_§;_§TTY JEAN KERR PEOPLE'S HEALTH CENTER
Alias: z

 

DWAY`NE BUTLER
5701 DELMAR BLVD
SAINT LOUlS, MO 63112

COURTSEAL OF You are summoned to appear before this court and to tile your pleading to the petition, a copy of

“‘ which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

_Date M. lane Schweitzer
Circuit Clerk

    

Further informations

 

Sherifl"s or Server’s Return
Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
l certify that l have served the above summons by: (check one)
l:] delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.

[:] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
a person of the Defendant’s/Respondent’s family over the age of 15 years.

[:I (i`or service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

 

 

 

` (name) (title).
[:] other
Served at (address)
in (County/City of St. Louis), MO, on (date) at (time).
Printed Name of Sherit`f or Server Signature of Sheriff or Server
Must be sworn before a notary public if not served by an authorized officer:
Subscribed and sworn to before me on (date).
(Sea[)
My commission expires:
Date Notary Public
Sheriff"s Fees, if applicable
Summons $
Non Est $
Mileage $ ( miles @ $ . per mile)
Total $

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits, see Supreme Court Rule 54.

 

 

 

OSCA (7-99) SM30 (SMCC) For Caurt Use Only: Document id # ll-SMCC-710 v l of l Civil Procedure Form No. l, Rules 54.01 - 54.05,
54.13, and 54.20; 506.120 ~ 506.140, and 506.150 RSMo

 

IN THE ZZND JUDICIAL CIRCUIT COURT OF CITY OF ST LOUIS, MISSOURI

 

 

 

 

 

 

 

 

Judge or Division: Case Number: 1122~CC00192
STEVEN RUSSELL OHMER
Plaintiff/Petitioner: Plaintiff’s/Petitioner’s Attorney/Address
ANJANAI FLENOID ALAN SCOTT MANDEL
1108 OLIVE ST.
5th FL
vs. ST. LGUIS, MO 631011949
Defendant/Respondent: Court Address:
ENVISI()N HOSPITAL CORPORATION CWIL COURTS BUILDING
- 10 N TUCKER BLVD
Nature of Suit:
CC Wrongful Death SAINT LOUIS’ Mo 63101 (Date File Stamp)
Summons in Civil Case
'I`he Sfafe of MiSSOuri fO: BETTY JEAN KERR PEOPLE'S HEALTH CENTER
Alias:
DWAYNE BUTLER
5701 DELMAR BLVD
SAINT LOUlS, MO 63112
COURTSEAL OF You are summoned to appear before this court and to file your pleading to the petition, a copy of

which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. lf you fail to
file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

%W.Jram;z/a_\

Date M. lane Schweitzer
Circuit Clerk

  

CITY UF ST LOUIS ~

Further lnformation:

 

Sheriff’s or Server’s Return
Note to serving officer: Summons should be retumed to the court within thirty days after the date of issue.
l certify that l have served the above summons by: (checl< one)
l:] delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
I:] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
a person of the Defendant’s/Respondent’s family over the age of 15 years.
l:] (for service on a corporation) delivering a copy of the summons and a copy of the petition to '

 

 

 

 

 

 

 

 

 

 

 

(name) (title).
l:l other y
Served at (address)
in (County/City of St. Louis), MO, on (date) at (time).
Printed Name of SheriH` or Server Signature of Sheriff or Server
Must be sworn before a notary public if not served by an authorized officer:
Subscribed and sworn to before me on (date).
(Sea[)
My commission expires:
Date ' Notary Public
Sherift’s Fees, if applicable
Summons $
Non Est $
Mileage $ ( miles @ $ . per mile)
Total $

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits, see Supreme Court Rule 54.

 

 

 

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ld # 11~SMCC~710 1 of 1 v Civil Procedure Form No. 1, Rules 54.01 - 54.05,

54.13, and 54.20; 506.l20 - 506.140, and 506.150 RSMo

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IN 'I`HE CIRCUIT COURT OF ST. LOUIS CITY
STA'I`E (_)F MSSOURI

ANIANAI FLENO]D, individually, and a '
Plaintiff ad Litem on behalf of decedent \

ANn<AFLENon), vC.C 00 /‘/Q_

Cause No. 1 l Q/Cl
Plaintifi':`,

' Division No.
v. '

ENVISION HO SPITAL CORPORATION,
D/B/A ST. ALEXIUS HOSP].TAL, Wrongfui Death - Medical Negligence
In Excess of $25,000.00 '
SERVE: Secretary of State Jury Demanded
600 West Main Street

Jefferson City, M() 65102
and

SUCCESS I~IEALTHCARE, LLC, D/B/A
ST. ALEXIUS HOSPITAL,

SERVE: CT Corporation
120 South Central Avenue
Clayton, M() 63105

and

ST. ALEX[US HOSPITAL
CORPORATION, #1,

SERVE: CT CORPORATION SYSTEM
120 South Central Avenue
Clayton, MO 63105

and

ST. ALEX[US EMERGENCY
PHYSICIANS, L.L.C.,

SERVE: Leslie Carzoli
6400 Atlantic Blvd
Jacksonville, FL 32211

and

\/\/\./\./\/\/\./\./\./\/\/\/\/\/\/\/\/\./\/\,/\/\./\./\./\/\,/V\/\./VV\/\/\/\/\./\/\_/\/\_/_\/\../\/

BETTY JEAN KERR `- PEOPLE’ S

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HEALTH CENTER,

SERVE: Dwayne Butler
5701 Delmar Blvd.
St. Louis, MO 63112

and

JOHN DOE, M.D.,

SERVE: HOLD

and

JANE DOE, M.D.,

SERVE: HOLD

\/\/\/\-/\/\/\./\/\/\/\/\/VVV\./\_/VV

Defendants.

PETITI()N FOR DAMAGES

COME N()W plaintiff Anj anai Flenoid, individually, and as Plaintiff ad Litern on behalf
of decedent Anil<a Flenoid, and through counsel, and for her causes of action against the
defendant, hereby state and allege as follows:

ALLEGA’I`IONS COMMON TO ALL COUN'I`S
PLAINT[FF ANJANAI FLENO]])

1. At the time of the negligent acts complained of herein and at all times mentioned,
plaintiff Anjanai Flenoid has been an individual over the age of twenty one years, residing in the
State of Missouri. At all times mentioned, plaintiff Anjanai Flenoid has been the natural
daughter of decedent Anika Flenoid.

2. Plaintiff Anjanai Flenoid is a proper party to bring a wrongful death action

pursuant to R.S.Mo. §537.080, et seq. occasioning the death of her mother on February 4, 2008.

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3. Plaintiff Anj anai Flenoid is a proper party to be appointed by the court as Plaintiff
ad Litem on behalf of decedent Anika Flenoid, for the sole purpose of bringing any and all
claims which may survive the decedent Anika Flenoid’s death, as if she were living.

DEFENDANT ENVISION HGSPITAL CORPORATION D/B/A ST. ALEXIUS
HOSPITAL

4. At all times hereinafter mentioned, defendant Envision Hospital Corporation d/b/a
St. Alexius Hospital (hereinafter referred to as “Envision”) has been a Delaware Corporation
owning and operating and holding itself out to the public, and in particular to plaintiff7 as a
facility located at 3933 South Broadway, in the City of St. Louis, State of Missouri, specializing
in providing hospital services, surgical services and other medical services, to patients like
plaintiff in exchange for valuable consideration paid by them

5. At all times hereinafter mentioned, defendant Envision was acting by and through
its servants, employees and/or agents, actual or ostensible

AGENCY

6. At all times hereina&er mentioned, any and all members of the medical staff and
interns that participated in the care and treatment of decedent Anika Flenoid at Defendant
Envision were employed by Defendant Envision and acting as duly authorized agents, servants,
and representatives of said Defendant Envision, acting within the scope and course of their
respective employment
DEFENDANT SUCCESS HEALTHCARE, LLC D/B/A ST. ALEXIUS HOSPITAL

7. At all times hereinafter mentioned, defendant Success Healthcare LLC d/b/a St.
Alexius Hospital (hereinafter referred to as “Success”) has been a Corporation owning and
operating and holding itself out to the public, and in particular to plaintiff as a facility, located at

3933 South Broadway, in the City of St. Louis, State ofl\/lissourij specializing in providing

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hospital services, surgical services and other medical services7 to patients like plaintiff in
exchange for valuable consideration paid by them.

8. At all times hereinafter mentioned, defendant Success was acting by and through
its servants, employees and/or agents, actual or ostensible y
AGENCY

9. At all times hereinafter mentioned, any and all members of the medical staff and
interns that participated in the care and treatment of decedent Anika Flenoid at Defendant
Success were employed by Defendant Success and acting as duly authorized agents, servants,
and representatives of said Defendant Success, acting within the scope and course of their
respective employment
DEFENDANT ST. ALEXIUS HOSPITAL CORPORATION. #1

10. At all times hereinafter mentioned, defendant St. Alexius Hospital Corporation, '
#1 has been a Corporation owning and operating and holding itself out to the public, and in
particular toplaintiff, as a facility, located at 3933 South Broadway, in the City of St. Louis,
Stat_e of 1\/1issouri7 specializing in providing hospital services, surgical services and other medical
services, to patients like plaintiff in exchange for valuable consideration paid by them.

11. At all times hereinafter mentioned, defendant St. Alexius Hospital Corporation,
#l was acting by and through its servants, employees and/or agents, actual or ostensible
AGENCY

12. At all times hereinafter mentioned, any and all members of the medical staff and
interns that participated in the care and treatment of decedent Anika Flenoid at Defendant
Success were employed by Defendant St. Alexius Hospital Corporationj #l and acting as duly
authorized agents, servants, and representatives of said Defendant St. Aleirius Hospital

Corporation, #1, acting within the scope and course of their respective employment

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DEFENDANT ST. ALEXIUS EMIERGENCY PHYSICIANS, L.L.C.

13. At all times hereinafter mentioned, defendant St. Alexius Ernergency Physicians,
L.L.C. is and has been a Missouri Corporation owning and operating and holding itself out to the
public, and in particular to plaintiff as a facility and/or group specializing in providing hospital
services, surgical services and other medical services, to patients like plaintiff in exchange for
valuable consideration paid by them.

14. At all times hereinafter mentioned, Defendant St. Alexius Ernergency l’hysicians7
L.L.C, was acting by and through its servants, employees and/or agents, actual or ostensible
AGENCY

15. At all times hereinafter mentioned, any and all members of the medical staff and
interns that participated in the care and treatment of decedent Anika Flenoid by Defendant St.
Alexius Ernergency Physicians were employed by Defendant St. Alexius Emergency Physicians
and acting as duly authorized agents, servants, and representatives of said Defendant St. Alexius
Emergency Physicians, L.L_C., acting within the scope and course of their respective
employment
DEFENDANT BETTY J`EAN KERR - PEOPLE’S HEALTH CENTER

16. At all times hereinafter mentioned, defendant Betty lean Kerr-People’s Health
Center (hereinafrer referred to as “People’s”) is and has been a Missouri Corporation owning and
operating and holding itself out to the public, and in particular to plaintiff as a facility and/or
group specializing in providing hospital services, surgical services and other medical services, to
patients like plaintiff in exchange for valuable consideration paid by them.

17. At all times hereinafter mentioned, Defendant People’s was acting by and through

its servants, employees and/or agents, actual or ostensible

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d »

AGENCY

18_ At all times hereinafter mentioned, any and all members of the medical staff and
interns that participated in the care and treatment of decedent Anika Flenoid by Defendant
People’s were employed by Defendant People’s and acting as duly authorized agents, servants,
and representatives of said Defendant People’s, acting within the scope and course of their
respective employment
DEFENDAN'I` JOHN DOE, M.D.

19. At the time of the negligent acts complained of herein and at all times mentioned,
defendant JOHN l)OE, M.D. has been a licensed physician, holding himself out to the public,
and in particular to Plaintiff as a physician specializing in surgical and medical services, health
care services to patients like plaintiff in exchange for valuable consideration paid by them.

20. At the time of the negligent acts complained of herein and at all times mentioned,
defendant lohn Doe, M.D. was acting individually and within the course and scope of his
employment and/or agency with defendant Envision and/or defendant Success and/or defendant
St. Alexius Emergency. Physicians and/or Betty lean Kerr-People’s Health Clinic and/or St.
Alexius Hospital Corporation, #l. d
DEFENDANT JANE DOE, M.D.

21. At the time of the negligent acts complained cf herein and at all times mentioned
defendant JANE DOE, M.D. has been a licensed physician, holding himself out to the public,
and in particular to Plaintiff as a physician specializing in surgical and medical services, health
care services to patients like plaintiff in exchange for valuable consideration paid by them.

22. At the time of the negligent acts complained of herein and at all times mentioned,
defendant lane Doe, M.D. was acting individually and Within the course and scope of her

employment and/or agency with defendant Envision and/or defendant Success and/or defendant

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St. Alexius Emergency Physicians and/or Betty Jean Kerr-People’s Health Clinic and/or St.
Alexius Hospital Corporation7 #l.
FACTS OF TIZ[E OCCURRENCES

23. On February 4, 2008 at approximately 12:08 p.m., decedent Anika Flenoid Anika
Flenoid presented to the emergency room at St. Alexius Hospital, in the City of St. Louis, State
of Missouri, for treatment of chest pains and shortness of breath;

24. On February; 4, 2008 at approximately 2:45 p.m., decedent Anika Flenoid Anika
Flenoid was discharged from St. Alexius Hospital.

25. On February 4, 2008 at approximately 6:52 p.m., decedent Anilca Flenoid Anilca
Flenoid collapsed at her home and was unresponsive

26. On, February 4, 2008 at approximately 7: 13 p.m., decedent Anika Flenoid Anika
Flenoid arrived via ambulance as St. Alexius Hospital for treatment

27. On February 4, 2008 at approximately 7:33 p.m., decedent Anika Flenoid Anika
Flenoid was pronounced dead at St. Alexius Hospital due to a cardiac arrest.

COUNT I
(Wrongful Death - Medical Negligence Against Envision)

COl\/lES NOW plaintiff Anjanai Flenoid, by and through counsel, and for Count I of her
Petition for Damages, hereby states and alleges as follows:

28. Paragraphs l through 27 above are hereby incorporated by reference as if fully set
forth herein
DEFENDANT ENVISION’S ACTS OF NEGLIGENCE

29. At the time of the negligent acts complained of herein and at all times mentioned,
defendant Envision7 by and through its servants, employees and/or agents, actual or ostensible,

including but not limited to the attending physicians, residents, technicians and nursing personnel

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caring for decedent, had a duty to possess and use that degree of skill and learning ordinarily

used under the same or similar circumstances by members of defendant’s profession in the care

of decedent Anika Flenoid.

30. Defendant Envision, by and through its servants, employees and/or agents, actual

or ostensible, including but not limited to the Defendant Children’s attending physicians,

residents7 technicians and nursing personnel caring for decedent, breached its duty of care and

committed the following acts of negligence and carelessness by failing to measure up to the

requisite standards .of due care, practice and skill required by members of defendant’s profession,

to~wit:

b)

s)
h)

Defendant failed to provide its agents, servants and employees the proper
training regarding patient management;

Defendant failed to provide its agents, servants and employees with proper
supervision regarding patient management;

Defendant failed to adequately monitor decedent Anika Flenoid;
Defendant failed to properly diagnose the seriousness of decedent’s
condition;

Defendant failed to properly recognize the cause of decedent’s chest pains;
Defendant failed to obtain multiple troponin levels in order to assess the
health status of decedent;

Defendant failed to timely treat decedent;

Defendant negligently discharged decedent without providing decedent

with the proper care, treatment and monitoring that her condition required

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DECEDENT AN]KA FLENOID’S. INJUR]ES

31. The negligence and carelessness of the defendant7 directly and proximately
caused, or directly and proximately contributed to cause, decedent Anika Flenoid to suffer
mental and physical pain, anguish and emotional distress prior to her untimely and agonizing
death on February 4, 2008.

PLA]NTIFF ANJANAI FLENOID’S DAMAGES

32. As a direct and proximate result of the negligence and carelessness of the
defendant, plaintiff Anjanai Flenoid was forced to expend monies for funeral and burial expenses
in connection with decedent’s death7 and for such other expenses in an amount that at this time
plaintiff Anjanai Flenoid is unable to state with exactitude l

33. As a direct and proximate result of the negligence and carelessness of the
defendant, plaintiff Anika Flenoid has been forever deprived of decedent Anjanai Flenoid’s
services, consortium,' companionship, comfort, instruction, guidance, counsel, training and
support

34. As a direct and proximate result of the negligence and carelessness of the
defendant, plaintiff Anj anai Flenoid has suffered great mental pain and anguish resulting from
decedent’s untimely death, in an amount that plaintiff is unable to state with exactitude at this
time.

35. As 'a further direct and proximate result of the negligence and carelessness of the
defendant, decedent Anika Flenoid was forced to suffer great mental and physical pain and
anguish prior to her death, for which plaintiff Anjanai Flenoid is entitled to recover, all in an
amount that plaintiff is unable to state with exactitude at this time.

WHEREFORE, plaintiff Anjanai Flenoid, by and through counsel, prays judgment

against defendant Envision, by and through its servants, employees and/or agents, actual or

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ostensible, including but not limited to the attending physicians, residents, technicians and

nursing personnel providing care to decedent, jointly and severally with other defendants, for

such sums as are fair and reasonable, together with any and all costs herein incurred and

expended, and for such other and further relief as this Court may deem just and proper.
COUNT II

(Wrongful Death - Medical Negligence Against Success Healthcare, LLC d/b/a St.
Alexius Hospital)

COMES NOW plaintiff Anj anai Flenoid by and through counsel, and for Count ll of her
Petition for Damages, hereby states and alleges as follows:

36. Paragraphs l. through 35 above are hereby incorporated by reference as if fully set
forth herein
DEFENDANT SUCCESS’ACTS OF NEGLIGENCE

37. At the time of the negligent acts complained of herein and at all times mentioned,
defendant Success, by and through its servants, employees and/or agents, actual or ostensible,
including but not limited to the attending physicians, residents, technicians and nursing personnel
caring for decedent, had a duty to possess and use that degree of skill and learning ordinarily
used under the same or similar circumstances by members of defendant’s profession in the care
of decedent Anika Flenoid.

38. Defendant Success, by and through its servants, employees and/or agents, actual
or ostensible, including but not limited to the Defendant SuccessJ attending physicians, residents,
technicians and nursing personnel caring for decedent, breached its duty of care and committed
the following acts of negligence and carelessness by failing to measure up to the requisite
standards of due care, practice and skill required by members of defendant’s profession to~wit:

a) Defendant failed to provide its agents, servants and employees the proper

training regarding patient management;‘

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b) Defendant failed to provide its agents, servants and employees with proper
supervision regarding patient management;
c) Defendant failed to adequately monitor decedent Anika Flenoid;

d) Defendant failed to properly diagnose the seriousness of decedent’s

condition;
e) Defendant failed to properly recognize the cause of decedent’s chest pains;
f) Defendant failed to obtain multiple troponin levels in order to assess the

health status of decedent;
g) Defendant failed to timely treat decedent;
h) Defendant negligently discharged decedent without providing decedent
v with the proper care, treatment and monitoring that her condition required
DECEDENT ANIKA FLENOID’S INJ`URIES
39. The negligence and carelessness of the defendant, directly and proximately
caused, or directly and proximately contributed to cause, decedent Anika Flenoid to suffer
mental and physical pain, anguish and emotional distress prior to her untimely and agonizing
death on February 4, 2008.
PLAINTIFF ANJANAI FLENOID’S lDAlVlAGrES
40. As a direct and proximate result of the negligence and carelessness of the
defendant, plaintiff Anj anai Flenoid was forced to expend monies for funeral and burial expenses
in connection with decedent’s death, and for such other expenses in an amount that at this time
plaintiff Anjanai Flenoid is unable to state with exactitude
41. As a direct and proximate result of the negligence and carelessness of the

defendant, plaintiff Anika Flenoid has been forever deprived of decedent Anj anai Flenoid’s

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services, consortium, companionship, comfort, instructionj guidance, counsel, training and
support

42. As a direct and proximate result of the negligence and carelessness of the
defendant, plaintiff Anj anai Flenoid has suffered great mental pain and anguish resulting nom
decedent’s untimely deathj in an amount that plaintiff is unable to state with exactitude at this
time

43. As a further direct and proximate result of the negligence and carelessness of the
defendant, decedent Anika Flenoid was forced to suffer great mental and physical pain and
` anguish prior to her death, for which plaintiff Anjanai Flenoid is entitled to recover, all in an
amount that plaintiff is unable to state with exactitude at this time

WHEREFORE, plaintiff Anajani Flenoid, by and through counsel, prays judgment
against defendant Success, by and through its servants, employees and/or agents, actual or
ostensible, including but not limited to the attending physicians, residents, technicians and
nursing personnel providing care to decedent, jointly and severally with other defendants, for
such sums as are fair and reasonable, together with any and all costs herein incurred and
expended, and for such other and further relief _as this Court may deem just and proper.

COUNT III

(Wrongful Death - Medical Negligence Against
Defendant St. Alexius Hospital Corporation, #1)

CGMES NOW plaintiff Anjanai Flenoid by and through counsel, and for Count l]] of her

Petition for Damages, hereby states and alleges as follows:

44. Paragraphs l through 43 above are hereby incorporated by reference as if fully set

forth herein

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DEFENDANT ST. ALEXIUS HOSPITAL CORPORATION, #I’S ACTS GF
NEGLIGENCE `

45. At the time of the negligent acts complained of herein and at all times mentioned,
defendant St. Alexius Hospital Corporation, #1, by and through its servants, employees and/or
agents, actual or ostensible, including but not limited to the attending physicians, residents,
technicians and nursing personnel caring for decedent, had a duty to possess and use that degree
of skill and learning ordinarily used under the same or similar circumstances by members of
defendant’s profession in the care of decedent Anika Flenoid.

46. Defendant St. Alexius Hospital Corporation, #1, by and through its servants,
employees and/ or agents, actual or ostensible, including but not limited to the Defendant St.
Alexius Hospital Corporation, #l’s attending physicians, residents, technicians and nursing
personnel caring for decedent, breached its duty of care and committed the following acts of
negligence and carelessness by failing to measure up to the requisite standards of due care,
practice and skill required by members of defendant’s profession, to-wit:

a) Defendant failed to provide its agents, servants and employees the proper
training regarding patient management;

b) Defendant failed to provide its agents, servants and employees with proper
supervision regarding patient management;

c) Defendant failed to adequately monitor decedent Anika Flenoid;

d) Defendant failed to properly diagnose the seriousness of decedent’s
condition;

e) Defendant failed to properly recognize the cause of decedent’s chest pains;

t) Defendant failed to obtain multiple troponin levels in order to assess the

health status of decedent;

g) Defendant failed to timely treat decedent;
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h) Defendant negligently discharged decedent without providing decedent
with the proper care, treatment and monitoring that her condition required
DECEDENT AN.|KA FLEN()]])’S INJURIES
47. The negligence and carelessness of the defendant, directly and proximately
caused, or directly and proximately contributed to cause, decedent Anika Flenoid to suffer
mental and physical pain, anguish and emotional distress prior to her untimely and agonizing
death on February 4, 2008.
PLA]N'IIFF ANJANAI FLENOI])’S DAMAGES
48. As a direct and proximate result of the negligence and carelessness of the
defendant, plaintiff Anjanai Flenoid was forced to expend monies for timeral and burial expenses
in connection with decedent’s death, and for such other expenses in an amount that at this time
plaintiff Anj anai Flenoid is unable to state with exactitude
49. As a direct and proximate result of the negligence and carelessness of the
defendant, plaintiff Anika Flenoid has been forever deprived of decedent Anjanai Flenoid’s
services, consortium, companionship, comfort, instruction, guidance, counsel, training and
support l
50. As a direct and proximate result of the negligence and carelessness of the
defendant, plaintiff Anj anai Flenoid has suffered great mental pain and anguish resulting from
idecedent’s untimely death7 in an amount that plaintiff is unable to state with exactitude at this
time
51. As a further direct and proximate result of the negligence and carelessness of the
defendant, decedent Anika Flenoid was forced to suffer great mental and physical pain and
anguish prior to her death, for which plaintiff Anjanai Flenoid is entitled to recover, all in an

amount that plaintiff is unable to state with exactitude at this time

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Wl-]EREFORE, plaintiff Anaj ani Flenoid, by and through counsel, prays judgment
against defendant St. Alexius Hospital Corporation, #l, by and through its servants, employees
and/or agents, actual or ostensible, including but not limited to the attending physicians,

v residents, technicians and nursing personnel providing care to decedent, jointly and severally
with other defendants, for such sums as are fair and reasonable, together with any and all costs
herein incurred and expended, and for such other and further relief as this Court may deem just
and proper.

COUNT IV

(Wrongful Death - Medical Negligence Against
defendant St. Alexius Emergency Physicians, LLC)

COMES NOW plaintiff Anj anai Flenoid by and through counsel, and for Count IV of her
Petition for Damages, hereby states and alleges as follows:

52. Paragraphs l through 51 above are hereby incorporated by reference as if fully set
forth herein
DEFENDANT ST. ALEXIUS EMERGENCY PHYSICIANS. LLC

53. At the time of the negligent acts complained of herein and at all times mentioned7
defendant St. Alexius Emergency Physicians, LLC by and through its servants, employees and/or
agents, actual or ostensible, including but not limited to the attending physicians, residents,
technicians and nursing personnel caring for decedent, had a duty to possess and use that degree
of skill and learning ordinarily used under the same or similar circumstances by members of
defendant’s profession in the care of decedent Anika Flenoid.

54. Defendant St. Alexius Emergency Physicians, LLC, by and through its servants,
employees and/or agents, actual or ostensible, including but not limited to the Defendant St.
Alexius Emergency Physicians, LLC’s attending physicians, residents, technicians and nursing

personnel caring for`decedent, breached its duty of care and committed the following acts of

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negligence and carelessness by failing to measure up to the requisite standards of due care,

practice and skill required by members of defendant’s profession, to-wit:

a)

b)

s)
h)

Defendant failed to provide its agents, servants and employees the proper
training regarding patient management;

Defendant failed to provide its agents, servants and employees with proper
supervision regarding patient management

Defendant failed to adequately monitor decedent Anika Flenoid;
Defendant failed to properly diagnose the seriousness of decedent’s
condition;

Defendant failed to properly recognize the cause of decedent’s chest pains;
Defendant failed to obtain multiple troponin levels in order to assess the
health status of decedent;

Defendant failed to timely treat decedent;

Defendant negligently discharged decedent without providing decedent

with the proper care, treatment and monitoring that her condition required

DECEDENT AN]KA FLENOID’S INJURIES

55. The negligence and carelessness of the defendant directly and proximately

caused, or directly and proximately contributed to cause, decedent Anika Flenoid to suffer

mental and physical pain, anguish and emotional distress prior to her untimely and agonizing

death on February 4, 2008.

PLA]NT]FF ANJANAI FLEl\lbD)’S DAMAGES

56. As a direct and proximate result of the negligence and carelessness of the

defendant, plaintiff Anjanai Flenoid was forced to expend monies for funeral and burial expenses

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in connection with decedent’s death, and for such other expenses in an amount that at this time
plaintiff Anj anai Flenoid is unable to state with exactitude

57. As a direct and proximate result of the negligence and carelessness of the
defendant, plaintiff Anika Flenoid has been forever deprived of decedent Anjanai Flenoid’s
services, consortium, companionship, comfort, instruction, guidance counsel, training and
support

58. As a direct and proximate result of the negligence and carelessness of the
defendant, plaintiff Anj anai Flenoid has suffered great mental pain and anguish resulting from
decedent’s untimely death,' in an amount that plaintiff is unable to state with exactitude at this
time

59. As a further direct and proximate result of the negligence and carelessness of the
defendant, decedent Anika Flenoid was forced to suffer great mental and physical pain and
anguish prior to her death, for which plaintiff Anjanai Flenoid is entitled to recover, all in an
amount that plaintiff is unable to state with exactitude at this time

WHEREFORE, plaintiff Anajani Flenoid, by and through counsel, prays judgment
against defendant St. Alexius Emergency Physicians, LLC, by and through its servants,
employees and/or agents, actual or ostensible, including but not limited to the attending
physicians, residents, technicians and nursing personnel providing care to decedent, jointly and
severally with other defendants, for-such sums as are fair and reasonable, together with any and
all costs herein incurred and expended and for such other and further relief as this Court may
deem just and proper.

COUNT V

(Wrongful Death - Medical Negligence Against
defendant Betty Jean Kerr-People’s Health Centers)

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COMES N()W plaintiff Anjanai Flenoid by and through counsel, and for Count V of her
Petition for Darnages, hereby states and alleges as follows:
60. Paragraphs 1 through 59 above are hereby incorporated by reference as if fully set
forth herein
DEFENDANT PEOPLE’S
61. At the time of the negligent acts complained of herein and at all times mentioned
defendant People’s by and through its servants, employees and/or agents, actual or ostensible,
including but not limited to the attending physicians, residents, technicians and nursing personnel
caring for decedent, had a duty to possess and use that degree of skill and learning ordinarily
used under the same or similar circumstances by members of defendant’s profession in the care
of decedent Anika Flenoid.
62. Defendant People’s, by and through its servants, employees and/or agents, actual
or ostensible, including but not limited to the Defendant People’s attending physicians,
residents, technicians and nursing personnel caring for decedent, breached its duty of care and
committed the following acts of negligence and carelessness by failing to measure up to the
requisite standards of due care, practice and skill required by members of defendant’s profession1
to-wit:
a) Defendant failed to provide its agents, servants and employees the proper
training regarding patient management;
b) Defendant failed to provide its agents, servants and employees with proper
supervision regarding patient management;
c) Defendant failed to adequately monitor decedent Anika Flenoid;
d) Defendant failed to properly diagnose the seriousness of decedent’s

condition;

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e) Defendant failed to properly recognize the cause of decedent’s chest pains;
t) Defendant failed to obtain multiple troponin levels in order to assess the
health status of decedent;
g) Defendant failed to timely treat decedent;
h) . Defendant negligently discharged decedent without providing decedent
with the proper care, treatment and monitoring that her condition required
DECE])ENT AN]KA FLENO]])’S lNJURIES
63. The negligence and carelessness of the defendant, directly and proximately
caused, or directly and proximately contributed to cause, decedent Anika Flenoid to suffer
mental and physical pain, anguish and emotional distress prior to her untimely and agonizing
death on February 4, 2008_

PLAINTIFF ANJANAI FLENO]])’S DAMAGES

64. As a direct hand proximate result of the negligence and carelessness of the
defendant, plaintiff Anjanai Flenoid was forced to expend monies for funeral and burial expenses
in connection with decedent’s death, and for such other expenses in an amount that at this time
plaintiff Anj anai Flenoid is unable to state with exactitude

65. As a direct and proximate result of the negligence and carelessness of the
defendant, plaintiff Anika Flenoid has been forever deprived of decedent Anj anai Flenoid’s
services, consortium, companionship, comfort, instruction, guidance, counsel, training and
support

66. As a direct and proximate result of the negligence and carelessness of the
defendant, plaintiff Anj anai Flenoid has suffered great mental pain and anguish resulting from

decedent’s untimely death, in an amount that plaintiff is unable to state with exactitude at this

time

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67. As a further direct and proximate result of the negligence and carelessness of the
defendant7 decedent Anika Flenoid was forced to suffer great mental and physical pain and
anguish prior to her death, for which plaintiff Anjana.i Flenoid is entitled to recover, all in an
amount that plaintiff is unable to state with exactitude at this time

WHEREFORE, plaintiff Anajani Flenoid, by and through counsel, prays judgment
against defendant People’s, by and through its servants, employees and/or agents, actual or
ostensible, including but not limited to the attending physicians residents, technicians and
nursing personnel providing care to decedent, jointly and severally with other defendants, for
such sums as are fair and reasonable together with any and all costs herein incurred and
expended and for such other and further relief as this Court may deem just and proper.

COUNT VI
(Wrongful Death - Medical Negligence Against defendant John Doe, M.D.)

COMES NOW plaintiff Anj anai Flenoid by and through counsel, and for CountVl of her
Petition for Damages, hereby states and alleges as follows:

68. Paragraphs 1 through 67 above are hereby incorporated by reference as if fully set
forth herein

69. That at all times hereinafter mentioned Defendant John Doe, M.D. was a
physician licensed to practice medicine in the State of Missouri and treated decedent in the
emergency room at St. Alexius Hospital, in the City of St. Louis, State of Missouri, on February
4, 2008.

70. That Defendant John Doe, M.D. was negligent, careless, and violated the proper
standard of care as follows:

a) Defendant failed to provide its agents, servants and employees the proper

training regarding patient management

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b) Defendant failed to provide its agents, servants and employees with proper
supervision regarding patient management;

c) Defendant failed to adequately monitor decedent Anika Flenoid;

d) Defendant failed to properly diagnose the seriousness of decedent’s
condition;

e) Defendant failed to properly recognize the cause of decedent’s chest pains;

f) Defendant failed to obtain multiple troponin levels in order to assess the

health status of decedent;
g) Defendant failed to timely treat decedent; '
h) Defendant negligently discharged decedent without providing decedent
with the proper care, treatment and monitoring that her condition required
DECE`DENT ANIKA FLENO]])’S ]NJURIES
71, The negligence and carelessness of the defendant, directly and proximately
caused, or directly and proximately contributed to cause, decedent Anika Flenoid to suffer
mental and physical pain, anguish and emotional distress prior to her untimely and agonizing
death on February 4, 2008. y
PLAINT[FF Al\IJANAI FLENO]])’S DAMAGES
72. As a direct and proximate result of the negligence and carelessness of the
defendant, plaintiff Anjanai Flenoid was forced to expend monies for funeral and burial expenses
in connection with decedent’s death, and for such other expenses in an amount that at this time
plaintiff Anjanai Flenoid is unable to state with exactitude
73. As a direct and proximate result of the negligence and carelessness of the

defendant plaintiff Anika Flenoid has been forever deprived of decedent Anjanai Flenoid’s

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services, consortium, companionship, comfort, instruction7 guidance counsel, training and
support

74. As a direct and proximate result of the negligence and carelessness of the
defendant, plaintiff Anjanai Flenoid has suffered great mental pain and anguish resulting from
decedent’s untimely death, in an amount that plaintiff is unable to state with exactitude at this
time

75. As a further direct and proximate result of the negligence and carelessness of the
defendant, decedent Anika Flenoid was forced to suffer great mental and physical pain and
anguish prior to her death, for which plaintiff Anjanai Flenoid is entitled to recover, all in an
amount that plaintiff is unable to state with exactitude at this time

WHEREFORE, plaintiff Anaj ani Flenoid, by and through counsel, prays judgment
against defendant John Doe’s, by and through its servants, employees and/or agents, actual or
ostensible, including but not limited to the attending physicians, residents, technicians and
nursing personnel providing care to decedent, jointly and severally with other defendants, for
such sums as are fair and reasonable together with any and all costs herein incurred and
expended and for such other and further relief as this Court may deem just and proper.

CouNr vrr
(Wrongful Death - Medical Negligence Against defendant lane Doe, M.D.)

CGl\/lES NGW plaintiff Anjanai Flenoid by and through counsel, and for Count VII of
her Petition for Damages, hereby states and alleges as follows:

76. Paragraphs 1 through 75 above are hereby incorporated by reference as if fully set
forth herein

77. That at all times hereinafter mentioned Defendant lane Doe, M.D. was a

physician licensed to practice medicine in the State of Missouri and treated decedent in the

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emergency room at St. Alexius Hospital, in the City of St. Louis, State of Missouri, on February

4, 2008.

78. That Defendant lane Doe, M.D. was negligent, careless, and violated the proper

standard of care as follows:

a)

b)

s)
h) '

Defendant failed to provide its agents, servants and employees the proper
training regarding patient management;

Defendant failed to provide its agents,` servants and employees with proper
supervision regarding patient management

Defendant failed to adequately monitor decedent Anika Flenoid;
Defendant failed to properly diagnose the b seriousness of decedent’s
condition;

Defendant failed to properly recognize the cause of decedent’s chest pains;
Defendant failed to obtain multiple troponin levels in order to assess the
health status of decedent;

Defendant failed to timely treat decedent;

Defendant negligently discharged decedent without providing decedent

with the proper care, treatment and monitoring that her condition required

DECEDENT A.NIK_A FLEND]])’S mIUR]]T,S

79. The negligence and carelessness of the defendant directly and proximately

caused, or directly

and proximately contributed to cause, decedent Anika Flenoid to suffer

mental and physical pain, anguish and emotional distress prior to her untimely and agonizing

death on February 4, 2008.

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PLA]:NTIFF ANJANAI FLENO]])’S DAMAGES

80. As a direct and proximate result of the negligence and carelessness of the
defendant plaintiff Anjanai Flenoid was forced to expend monies for funeral and burial expenses
in connection with decedent’s death7 and for such other expenses-in an amount that at this time
plaintiff Anjanai Flenoid is unable to state with exactitude

81. As a direct and proximate result of the negligence and carelessness of the
defendant3 plaintiff Anika Flenoid has been forever deprived of decedent Anj anai Flenoid’s
services, consortium, companionship, comfort, instruction guidance counsel, training and
support

82. v As a direct and proximate result of the negligence and carelessness of the
defendant plaintiff Anjanai Flenoid has suffered great mental pain and anguish resulting nom
decedent’s untimely death, in an amount that plaintiff is unable to state with exactitude at this
time

83. As a further direct and proximate result of the negligence and carelessness of the
defendant decedent Anika Flenoid was forced to suffer great mental and physical pain and

_ anguish prior to her death7 for which plaintiff Anjanai Flenoid is entitled to recover, all in an

amount that plaintiff is unable to state with exactitude at this time

WHEREFORE, plaintiff Anajani Flenoid, by and through counsel, prays judgment
against defendant lane Doe’s, by and through its servants, employees and/or agents, actual or
ostensible including but not limited to the attending physicians, residents, technicians and
nursing personnel providing care to decedent, jointly and severally with other defendants, for
such sums as are fair and reasonable together with any and all costs herein incurred and

expended and for such other and lirrther relief as this Court may deem just and proper.

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Respectfully submitted,

Mandel & Mandel, LLP

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